                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                     CRIMINAL DOCKET NO.: 3:01CR178-1-V


UNITED STATES OF AMERICA        )
                                )
           vs.                  )                        ORDER
                                )
JAMES EDWARD BYRD, III,         )
                Defendant.      )
________________________________)

      THIS MATTER comes before the Court on its own motion for purposes of

rescheduling the resentencing hearing in this matter.

      IT IS, THEREFORE, ORDERED THAT:

      1) Defendant shall appear for re-sentencing before the undersigned in the Charlotte
      Division on Friday, January 27, 2006 at 11:00 a.m.;
      3) The Deputy Clerk shall deliver a copy of this Order to Defendant, Defense
      Counsel, U. S. Attorney’s Office, U. S. Marshal, U. S. Probation, and the Courtroom
      Deputy.




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                    Signed: October 31, 2005




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                    Signed: January 10, 2006




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